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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 SELINA MARIE RAMIREZ, individually             §
 and as Independent Administrator of, and on    §
 behalf of, the ESTATE OF GABRIEL               §
 EDUARDO OLIVAS and the heirs-at-law of         §
 GABRIEL EDUARDO OLIVAS, and as                 §
 parent, guardian, and next friend of and for   §
                                                §
 female minor S.M.O.; and GABRIEL
                                                §
 ANTHONY OLIVAS, individually,
                                                §   CIVIL ACTION NO. 3:19-CV-1529-L
                      Plaintiffs,               §
                                                §
 v.                                             §
                                                §
 CITY OF ARLINGTON, TEXAS;
                                                §
 JEREMIAS GUADARRAMA; and EBONY                 §
 N. JEFFERSON,                                  §
                      Defendants.               §


  DEFENDANT GUADARRAMA’S RENEWED MOTION TO DISMISS, AND BRIEF


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August 21, 2019
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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


 SELINA MARIE RAMIREZ, individually                §
 and as Independent Administrator of, and on       §
 behalf of, the ESTATE OF GABRIEL                  §
 EDUARDO OLIVAS and the heirs-at-law of            §
 GABRIEL EDUARDO OLIVAS, and as                    §
 parent, guardian, and next friend of and for      §
                                                   §
 female minor S.M.O.; and GABRIEL
                                                   §
 ANTHONY OLIVAS, individually,
                                                   §     CIVIL ACTION NO. 3:19-CV-1529-L
                        Plaintiffs,                §
                                                   §
 v.                                                §
                                                   §
 CITY OF ARLINGTON, TEXAS;
                                                   §
 JEREMIAS GUADARRAMA; and EBONY                    §
 N. JEFFERSON,                                     §
                        Defendants.                §


  DEFENDANT GUADARRAMA’S RENEWED MOTION TO DISMISS, AND BRIEF

         Defendant Jeremias Guadarrama (“Defendant” or “Guadarrama”), pursuant to Federal

Rule of Civil Procedure 12(b)(6), and in accordance with Rule 15(a)(3) of the Federal Rules of

Civil Procedure, files this, his renewed motion to dismiss for Plaintiffs’ failure to state a claim, in

response to the First Amended Plaintiffs’ Original Complaint, filed on August 7, 2019 (ECF Doc.

No. 19) (“Plaintiffs’ Amended Complaint”). In support hereof, Defendant respectfully shows the

court the following:

                                  I. GROUNDS FOR MOTION

         Plaintiffs have brought a single federal claim against Defendant for the alleged use of

excessive force, pursuant to 42 U.S.C. §1983 and under the Fourth Amendment to the United

States Constitution. Defendant asserts the defense of qualified immunity. Plaintiffs’ pleadings

fail to state a claim which would overcome Defendant’s qualified immunity defense. In fact, the

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Plaintiffs’ pleadings affirmatively negate an excessive force claim. Plaintiffs have also brought

state law claims against Defendant. Plaintiffs’ state law claims fail to state a claim upon which

relief can be granted. After Defendant Guadarrama’s Motion to Dismiss, and Brief, was filed on

July 26, 2019 (ECF Doc. No. 16) (“Defendant’s First Dismissal Motion”), Plaintiffs filed

Plaintiffs’ Amended Complaint, pursuant to Rule 15(a)(1)(B) of the Federal Rules of Civil

Procedure, instead of responding substantively to Defendant’s First Dismissal Motion. Plaintiffs’

Amended Complaint does not alter the grounds upon which Defendant’s dismissal motion is based,

and Defendant hereby re-urges those grounds in this renewed dismissal motion. Accordingly,

Plaintiffs’ claims against Guadarrama should be dismissed.

                           II. ARGUMENT AND AUTHORITIES

       A.      Rule 12(b)(6) Motion: The Appropriate Legal Standard

       Federal Rule of Civil Procedure 12(b)(6) authorizes a court to dismiss a plaintiff’s

complaint for “failure to state a claim upon which relief can be granted.” Fed.R.Civ.P. 12(b)(6).

In considering a Rule 12(b)(6) motion to dismiss, “[t]he court accepts all well-pleaded facts as

true, viewing them in the light most favorable to the plaintiff.” In re Katrina Canal Breaches

Litig., 495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin K. Eby Constr. Co. v. Dall. Area Rapid

Transit, 369 F.3d 464, 467 (5th Cir. 2004)). The court should “not look beyond the face of the

pleadings to determine whether relief should be granted based on the alleged facts.” Spivey v.

Robertson, 197 F.3d 772, 774 (5th Cir. 1999).

       To survive a motion to dismiss, a plaintiff must plead “enough facts to state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

“Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial plausibility when



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the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. “The plausibility standard is not akin to a

‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id. When well-pleaded facts fail to achieve this plausibility standard, “the complaint

has alleged—but it has not shown—that the pleader is entitled to relief.” Id. at 679 (internal

quotation marks and alterations omitted).

       As will be shown herein, Plaintiffs’ Amended Complaint against Defendant should be

dismissed because of Plaintiffs’ failure to plead a plausible excessive force claim against

Defendant, and because of Plaintiffs’ failure to plead plausible state claims against Defendant.

       B.       Legal Standard for Excessive Force Pleadings

       Plaintiffs’ Amended Complaint asserts a claim against Defendant for excessive force in

violation of the Fourth Amendment to the United States Constitution, pursuant to 42 U.S.C.

§ 1983. Plaintiffs’ Amended Complaint, ECF Doc. No. 19, pp. 44-47. “[S]uits filed under 42

U.S.C.§1983 against public officials in their private capacity … must be stated with particularity.”

Al-Saraji v. City of Dallas, No. 3:10-CV-1918-O, 2011 WL 13232595, at *2 (N.D. Tex. Aug. 9,

2011) (quoting Schultea v. Wood, 47 F.3d 1427, 1430 (5th Cir. 1995)). A plaintiff must plead

specific facts demonstrating a constitutional violation and cannot plead mere conclusions or rest

on general characterizations. Id. See also Chacko v. Texas A&M Univ., 960 F.Supp. 1180, 1192

(S.D. Tex. 1997) (citing Schultea, 47 F.3d at 1433) (plaintiff must support her § 1983 claim with

specific facts demonstrating a constitutional deprivation and may not simply rely on conclusory

allegations).

       A plaintiff must also allege and establish that the alleged constitutional deprivation was

intentional or due to deliberate indifference—not the result of mere negligence. See Farmer v.



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Brennan, 511 U.S. 825, 833-35 (1994); Davidson v. Cannon, 474 U.S. 344, 348 (1986); Daniels

v. Williams, 474 U.S. 327, 330 (1986). To prevail on a Fourth Amendment excessive force claim,

the plaintiff must set forth well-pleaded facts demonstrating that the plaintiff: (1) suffered an

injury, which (2) resulted directly and only from the use of force that was clearly excessive to the

need, and (3) the force used was objectively unreasonable. Dyer v. City of Mesquite, No. 3:15-

CV-2638-B, 2016 WL 2346740, at *3 (N.D. Tex. May 3, 2016) (citing Cass v. City of Abilene,

814 F.3d 721, 731 (5th Cir. 2016)).

       In analyzing such a claim, careful attention must be given to the facts and circumstances

of each particular case, including the severity of the crime at issue, whether the suspect posed an

immediate threat to the safety of the officers or others, and whether the suspect is actively

attempting to evade arrest by flight. Carroll v. Ellington, 800 F.3d 154, 173 (5th Cir. 2015). The

reasonableness of a particular use of force must be judged from the perspective of a reasonable

officer on the scene, rather than with the 20/20 vision of hindsight. Id. (emphasis added). The

reasonableness analysis must also allow for the fact that police officers are often forced to make

split-second judgments – in circumstances that are tense, uncertain, and rapidly evolving – about

the amount of force that is necessary in a particular situation. Id. at 174 (emphasis added).

       Even assuming that a particular use of force is clearly excessive and violated the

protections of the constitution, a plaintiff must also establish that at the time of the events in

question, it had been clearly established, that is, it was beyond debate, that the particular conduct

was unlawful. See Morrow v. Meachum, 917 F.3d 870, 874 (5th Cir. 2019). “The dispositive

question is whether the violative nature of particular conduct is clearly established.” Mullenix v.

Luna, ___ U.S. ___, 136 S.Ct. 305, 308 (2015) (per curiam) (emphasis in original). Qualified

immunity is inappropriate only where the officer had “fair notice”—“in light of the specific context



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of the case, not as a broad general proposition”—that his particular conduct was unlawful.

Morrow, 917 F.3d at 875 (quoting Brosseau v. Haugen, 543 U.S. 194, 198 (2004) (per curiam)

(emphasis in original).

       Excessive force cases are “an area of the law ‘in which the result depends very much on

the facts of each case,’ and thus police officers are entitled to qualified immunity unless existing

precedent ‘squarely governs’ the specific facts at issue.” Morrow, 917 F.3d at 876 (quoting Kisela

v. Hughes, ___ U.S. ___, 138 S.Ct. 1148, 1153 (2018) (per curiam)). “That means the law must

be so clearly established that—in the blink of an eye, in the middle of a high-speed chase—every

reasonable officer would know it immediately.” Morrow, 917 F.3d at 876. Plaintiffs did not meet

these standards in their pleadings to overcome Defendant’s entitlement to qualified immunity, and

cannot do so, because there is no existing precedent that squarely governed Guadarrama’s actions

under the circumstances he faced when he encountered Mr. Olivas on July 10, 2017.

       C.      Legal Standards for Qualified Immunity

       Defendant asserts entitlement in this case to qualified immunity from Plaintiffs’ federal

claim. Qualified immunity protects governmental officials from liability so long as their conduct

“does not violate clearly established statutory or constitutional rights of which a reasonable person

would have known.” Rockwell v. Brown, 664 F.3d 985, 990 (5th Cir. 2011) (quoting Pearson v.

Callahan, 555 U.S. 223, 231 (2009)). “When a defendant invokes qualified immunity, the burden

shifts to the plaintiff to demonstrate the inapplicability of the defense.” Club Retro, L.L.C. v.

Hilton, 568 F.3d 181, 194 (5th Cir. 2009).

       To evaluate whether a government official is entitled to qualified immunity, the court is to

conduct a two-prong inquiry: (1) whether the undisputed facts and the disputed facts, accepting

the plaintiffs’ version of the disputed facts as true, constitute a violation of a constitutional right,



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and (2) whether the defendant’s conduct was “objectively reasonable in light of clearly established

law.” Thompson v. Upshur Cnty., Tex., 245 F.3d 447, 457 (5th Cir. 2001). Clearly established

law is based on the state of the law in effect at the time of the alleged violation. Id. A government

official’s acts are not objectively unreasonable unless all reasonable officials in the defendant’s

circumstances would have then known that the defendant’s conduct violated the plaintiff’s rights.

Id. The court has discretion to address either qualified immunity prong first without necessarily

addressing the other. Pearson, 555 U.S. at 236.

         With these principles in mind, and as set forth in Section E, below, Defendant is entitled to

dismissal from Plaintiffs’ federal claim based upon Defendant’s entitlement to qualified immunity.

         D.       Plaintiffs’ Allegations as to Guadarrama

         Plaintiffs allege that Mr. Olivas had doused himself with gasoline, and poured gasoline

throughout the residence, and was threatening to kill himself by igniting himself with a lighter.

Plaintiff’s Amended Complaint, p. 7, ¶ 12.1 While Plaintiffs’ Amended Complaint extends over

fifty (50) pages and includes over one hundred (100) separately numbered paragraphs, much of

which constitutes argument rather than factual allegations, there appears to be a single federal

claim brought against Defendant: excessive force pursuant to 42 U.S.C. §1983 and the Fourth

Amendment. Plaintiffs’ Amended Complaint, pp. 44-45. The pertinent allegations, as they pertain

to Guadarrama, are set forth in paragraphs 20 through 29 of the complaint. See Plaintiffs’

Amended Complaint, pp. 10-14. It is noteworthy that these paragraphs are asserted primarily as a



1
  When comparing paragraph 12 in Plaintiffs’ Original Complaint to the same paragraph in Plaintiffs’ Amended
Complaint, for example, the amended complaint adds the third and fifth sentences. Compare Plaintiffs’ Original
Complaint, p. 8, ¶ 12, with Plaintiffs’ Amended Complaint, p. 7, ¶ 12. The addition of those sentences create an
internal pleading inconsistency, with the allegation being that Mr. Olivas verbally told his family that he would kill
himself by dousing himself with gasoline and lighting himself on fire, on the one hand, and then asserting in a
conclusory and speculative fashion that Mr. Olivas “did not intend to commit suicide, and he would not have
committed suicide,” on the other hand. Such allegations are not “well-pleaded facts” (In re Katrina Canal Breaches,
495 F.3d at 205), and do not “raise a right to relief above the speculative level.” Twombly, 550 U.S. at 570.

DEFENDANT GUADARRAMA’S RENEWED MOTION TO DISMISS, AND BRIEF – PAGE 6
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recitation of a “typed statement” provided by Guadarrama after the incident involving Mr. Olivas.

Plaintiffs’ Amended Complaint, p. 10-11, ¶ 20. Interspersed throughout paragraphs 20 through 29

are Plaintiffs’ additional speculative allegations, and criticisms of Defendant’s statements and

actions, in a manner that is clearly 20/20 hindsight asserting what Guadarrama should, or should

not, have done during his encounter with Mr. Olivas. See Plaintiffs’ Amended Complaint, pp. 10-

14. Such speculations are not entitled to the usual pleading deference by the court in the context

of determining a dismissal motion under Rule 12(b)(6). Twombly, 550 U.S. at 570.

       Plaintiffs’ Amended Complaint provides a picture that the situation in the bedroom with

Mr. Olivas was tense, rapidly evolving, and forcing Defendant to make split-second decisions,

notwithstanding the added statements in the amended pleading. While it appears that Plaintiffs

allege that Guadarrama’s discharging his Taser at Mr. Olivas in order to subdue him, after Mr.

Olivas undisputedly had doused himself with gasoline, was holding a lighter, and was threatening

to kill himself by lighting himself on fire, was improper, Plaintiffs’ allegations also include an

account of the autopsy report that recites that “Dr. Burt did not reach any opinion as to what caused

the fire which caused Mr. Olivas’ death.” Plaintiff’s Amended Complaint, p. 24, ¶ 56. Further,

Plaintiffs provide a copy of a purported page from a “2017 training seminar” that recites that a

Taser “can,” as opposed to “will” or “always,” ignite explosive or flammable substances.

Plaintiffs’ Amended Complaint, p. 32, ¶ 84. Plaintiffs further allege that the City of Arlington’s

training of Defendant “did not prohibit use of a taser in such a situation.” Plaintiffs’ Amended

Complaint, p. 32, ¶ 85. Plaintiffs allegations, however, do not establish that Defendant’s actions

constituted a violation of a constitutional right, or that Defendant’s conduct was objectively

unreasonable and violated clearly established law. In light of Plaintiffs’ allegations against




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Defendant, for the purposes of this motion, Plaintiffs’ excessive force claim against Guadarrama

must be dismissed for the following compelling reasons.

         E.       Plaintiffs’ Excessive Force Claim Against Guadarrama Does Not Overcome
                  His Entitlement to Qualified Immunity.

                  1.        Plaintiffs Expressly Allege that Mr. Olivas’ Death Did Not Result
                            “Directly and Only” from Guadarrama’s Conduct.

         Plaintiffs alleged that Officer Guadarrama tased Mr. Olivas, thereby igniting Mr. Olivas

on fire. Plaintiffs’ Amended Complaint, p. 13, ¶ 26. Plaintiffs assert that Mr. Olivas had doused

himself with gasoline, and had poured gasoline in other places in the residence, and was holding a

lighter and threatening to ignite a fire in order to commit suicide and to harm the officers.

Plaintiffs’ Amended Complaint, p. 7, ¶¶ 12-13, and pp. 11-12, ¶¶ 22-23. Although Plaintiffs now

appear to raise questions about whether Mr. Olivas had doused himself with, and poured in other

places, gasoline, without which the flammable situation would not have existed, Mr. Olivas’

alleged actions nonetheless created the dangerous conditions facing Defendant, so that

Guadarrama’s actions in response to those conditions were not the proximate, or “direct and only

cause,” of Mr. Olivas’ injuries. See, e.g., Batiste v. Theriot, 458 Fed. Appx. 351, 355 (5th Cir.

2012) (“The injury did not result from the tasing regardless of its reasonableness. This eliminates

tasing as a basis for an excessive force claim”).2 Mr. Olivas set the stage for, and was partly the

cause of, his injuries. Plaintiffs’ Amended Complaint, p. 7, ¶¶ 12-13. As a result, Plaintiffs have

affirmatively negated a necessary element of their excessive force claim against Defendant, and

the claim should be dismissed.




2
  Indeed, Plaintiffs’ Amended Complaint now asserts that both tasings, and one by Defendant, and one by Sergeant
Jefferson, caused Mr. Olivas harm, notwithstanding the allegations that the officers fired their tasers at different times.
Compare Plaintiffs’ Amended Complaint ¶ 26, with ¶¶ 35 and 54.

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               2.     Plaintiffs Fail to Allege Objectively Unreasonable Conduct on the Part of
                      Guadarrama.

       At the point Defendant discharged his taser, a reasonable officer would have been justified

in deploying his or her taser, or even a firearm, in order to confront and respond to the dangerous

conditions and circumstances facing Defendant and the other officers. Batiste, 458 Fed.Appx. at

354-55. According to the Plaintiffs’ allegations, and notwithstanding the amendments now

appearing in Plaintiffs’ Amended Complaint, Plaintiffs’ assert the officers’ version of events from

their statements that show that Defendant was faced with serious threats of harm by Mr. Olivas.

Plaintiffs’ Amended Complaint, pp. 10-14. Plaintiffs further allege that, at the point in time that

Mr. Olivas became engulfed in flames, each of the officers in the room were already within a

“danger zone” and in close proximity to Mr. Olivas. Plaintiffs’ Amended Complaint, pp. 21-22,

¶¶ 50-52. Plaintiffs further allege that gasoline had been spread throughout the bedroom, and in

the house, and that Mr. Olivas’ family members were in the vicinity along with the three officers.

Plaintiffs’ Amended Complaint, pp. 10-23.

       Plaintiffs’ entire theory of liability rests on the precept that Defendant should not have

discharged his taser to prevent Mr. Olivas from lighting himself and the house on fire because of

the risk that the gasoline covering Mr. Olivas might ignite.      While Defendant disputes that

premise, according to Plaintiffs’ own pleadings, Mr. Olivas was intent on committing suicide.

Plaintiffs’ Amended Complaint, p.7, ¶¶ 12-13.        Whether Defendant’s taser discharge was

objectively unreasonable must be viewed from Defendant’s perspective and through the facts and

circumstances present at the moment Defendant is alleged to have deployed his taser. See

Rockwell, 664 F.3d at 991.

       As alleged, Mr. Olivas presented an immediate threat to the safety of everyone in the

residence, including Defendant, who is alleged to have been in close proximity to Mr. Olivas.


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Defendant’s taser discharge must be judged from the perspective of a reasonable officer on the

scene, rather than with 20/20 hindsight. Rockwell, 664 F.3d at 991. This analysis must also allow

for the fact that police officers are often forced to make split-second judgments – in circumstances

that are tense, uncertain, and rapidly evolving – about the amount of force that is necessary in a

particular situation. Id. Assuming for the moment Plaintiffs’ allegations that the taser discharge

was an intentional, non-lethal attempt to muscularly immobilize a suicidal man threatening to

ignite a fire and commit suicide, with several people standing nearby, such a use of force could

not be considered objectively unreasonable under the circumstances. See Rockwell, 664 F.3d at

992 (“But neither the Supreme Court nor this Court has ever held that all of the Graham factors

must be present for an officer’s actions to be reasonable; indeed, in the typical case, it is sufficient

that the officer reasonably believed that the suspect posed a threat to the safety of the officer or

others.”) (emphasis in original).      Plaintiffs have therefore failed to overcome Defendant’s

entitlement to qualified immunity.

               3.      Guadarrama’s Conduct was not “Clearly Established” as Unlawful.

       Even assuming a particular use of force is excessive and violates the protections of the

Fourth Amendment, a plaintiff must also plead sufficient facts to establish that, at the time of the

events in question, it had been clearly established, that is, beyond debate, that the particular

conduct was unlawful. See Morrow, 917 F.3d at 874. According to the Plaintiffs’ allegations, Mr.

Olivas was suicidal and endangering officers and family members. The following cases uphold

qualified immunity in instances when deadly force was used in the context of a suicidal suspect

and/or in instances where the suspect presented a serious and immediate threat to officers or other

innocent bystanders:




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     1.    Rockwell v. Brown, 664 F.3d 985, 991 (5th Cir. 2011). (officers shot
           paranoid schizophrenic suspect who emerged from a barricaded room with
           fishing filet knives – no constitutional violation).

     2.    Elizondo v. Green, 671 F.3d 506, 510 (5th Cir. 2012) (officer shot seventeen
           year old threatening suicide with a knife when he approached officer – no
           constitutional violation)

     3.    Harris v. Serpas, 745 F.3d 767, 770, 772-3 (5th Cir. 2014) (ex-wife called
           911 fearing that ex-husband had overdosed on sleeping pills in an effort to
           commit suicide. Suspect raised a folding pocket knife and was shot by
           officers – no constitutional violation).

     4.    Rice v. Reliastar Life Ins. Co., 770 F.3d 1122, 1134 (5th Cir. 2014) (officer
           shot suicidal suspect armed with a gun when the suspect refused orders to
           relinquish the weapon – no constitutional violation).

     5.    Salazar-Limar v. City of Houston, 826 F.3d 272 (5th Cir. 2016) (officer shot
           suspect who had briefly resisted arrest and was walking away from him at
           a traffic stop because the suspect reached towards his waistband – no
           constitutional violation).

     6.    Collie v. Barron, 747 Fed. Appx. 950 (5th Cir. 2018) (officer shot suspect
           who was walking away from officers with hands in his pockets and
           suddenly swung a hand in the direction of one of the officers – no
           constitutional violation).

     7.    Gomez v. City of Pharr, No. 7:18-CV-342, 2019 WL 448898, *7 (S.D. Tex.
           Feb. 5, 2019) (officers shot mentally unstable boy holding two butter knives
           walking slowly toward them – no constitutional violation).

     8.    Manis v. Lawson, 585 F.3d 839, 841-47 (5th Cir. 2009) (officer’s use of
           deadly force was not excessive when unarmed man was shot after
           repeatedly reaching under the front seat of his car.)

     9.    Ontiveros v. City of Rosenberg, 564 F.3d 379, 380-81 (5th Cir. 2009)
           (officer’s use of deadly force was not excessive when, while executing a
           high risk arrest warrant, the officer shot an individual who moved behind a
           door and reached into his boot for what the officer believed could be a
           weapon.)

     10.   Young v. Killeen, 775 F.3d 1349, 1350-51 (5th Cir. 1985) (officer’s use of
           deadly force was not excessive when the officer shot an individual involved
           in a suspected drug transaction after the individual reached down to the seat
           or floorboard of his car, causing the officer to believe the individual was
           reaching for a gun.)



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       As stated previously, tasing an individual under tense, stressful circumstances cannot be

considered, and has not been found to be, unlawful deadly force that is clearly established. See

e.g. Batiste, 458 Fed. Appx. at 355 (“Even if Plaintiffs accurately describe the tasing, they have

not shown that the use of a non-lethal weapon in a less than optimal manner necessarily equates to

the use of a loaded firearm as was the case in [Tennessee v. Garner, 471 U.S. 1 (1985)].”).

Defendant would have been justified, according to the controlling law of this Circuit, as set forth

above, to have actually used deadly force in this situation, which Defendant chose not to do in an

objectively reasonable manner.

       In any event, tasing an individual who was an immediate and deadly threat to Defendant

and others has not been clearly established, beyond debate, to be unlawful. See Batiste, 458 Fed.

Appx. at 354 (“[W]e find no support, and the Plaintiffs offer none, for the inference that the use of

a taser is comparable to discharging a firearm. There are no cases in this circuit that support this

proposition and we decline to so rule.”). Plaintiffs’ Amended Complaint does not allege that

Defendant’s use of a taser in this situation violated clearly established law. Plaintiffs thus fail to

nudge their allegations of harm from conceivable to plausible. Twombly, 550 U.S. at 570.

       As alleged, the claims against Guadarrama must be dismissed because it was not clearly

established that the use of a taser, or other electronic device to subdue a suspect, amounted to

excessive force that violated the Fourth Amendment. Mullenix, 136 S.Ct. at 308 (dispositive

question is whether the violative nature of the particular conduct is clearly established); Morrow,

917 F.3d at 874-75 (same). Plaintiffs only allege a “sheer possibility” that Defendant acted

unlawfully. Ashcroft, 556 U.S. at 678. Indeed, it has been held in the Fifth Circuit that a use of

force, including the use of a taser, where the suspect is resisting or violent, is often appropriate or

at least entitled to qualified immunity. See Poole v. City of Shreveport, 691 F.3d 624, 629 (5th



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Cir. 2012); Rakestrau v. Neustrom, No. 11-CV-1762, 2013 WL 1452030, at *10 (W.D. La. Apr.

8, 2013) (describing the state of the law in the Fifth Circuit and elsewhere, and noting that whether

the use of a taser constitutes excessive force generally turns on whether the arrestee is resisting or

otherwise violent). Plaintiffs’ amended allegations of excessive force are insufficient to overcome

Guadarrama’s entitlement to qualified immunity.

        F.      To the Extent that Plaintiffs Have Asserted State Law Claims, Such Claims
                Must be Dismissed For Failure to State a Claim.

        Plaintiffs assert, somewhat ambiguously, that, “[t]he United States Court of Appeals for

the Fifth Circuit has held that using a state’s wrongful death and survival statutes creates an

effective remedy for civil rights claims pursuant to 42 U.S.C. §1983. Therefore, Plaintiffs . . . seek

all remedies and damages available under Texas and federal law including but not necessarily

limited to the Texas wrongful death statute . . . the Texas survival statute . . . the Texas Constitution,

common law, and all related and/or supporting case law.” Plaintiffs’ Amended Complaint, pp. 45-

46, ¶ 106. See also Plaintiffs’ Amended Complaint, p. 49, ¶ 112 (Plaintiffs’ similar claims alleged

against the City of Arlington). Plaintiffs’ state law claims against Defendant should be dismissed

as a matter of law for the failure to state a claim.

                1.      Plaintiffs’ Wrongful Death and Survival Claims.

        Plaintiffs are attempting to pursue state tort claims in addition to the federal §1983 claim.

A plaintiff cannot pursue pendent state claims under the Texas Tort Claims Act where they are

based on a single event, an event alleged under a contemporaneous §1983 cause of action to be an

intentional tort.” See Pratt v. Harris County, No. H-12-1770, 2015 WL 224945, at *18 (S.D. Tex.

Jan. 15, 2105) (quoting Drain v. Galveston Cnty., 979 F.Supp. 1101, 1104-05 (S.D. Tex. 1997)

(citing Taylor v. Gregg, 36 F.3d 453, 457 (5th Cir. 1994)), aff’d, 822 F.3d 174 (5th Cir. 2016).




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The negligent conduct alleged in Plaintiffs’ state law claims are the same as the intentional conduct

alleged in the §1983 claim, and should be dismissed. Id.

       Further, Plaintiffs have asserted identical state claims against Defendant City of Arlington.

Compare Plaintiffs’ Amended Complaint, pp. 45-46, ¶ 106, with Plaintiffs’ Amended Complaint,

p. 49, ¶ 112. Under the Civil Practice and Remedies Code, Section 101.106, (1) the filing of a suit

under the Tort Claims Act against a governmental unit constitutes an irrevocable election by the

plaintiff and immediately and forever bars any suit or recovery by the plaintiff against any

individual employee of the governmental unit regarding the same subject matter; (2) if a suit is

filed under this chapter against both a governmental unit and any of its employees, the employees

shall immediately be dismissed on the filing of a motion by the governmental unit; and (3) if a suit

is filed against an employee of a governmental unit based on conduct within the general scope of

that employee’s employment, and if it could have been brought under this chapter against the

governmental unit, the suit is considered to be against the employee in the employee’s official

capacity only and shall be dismissed on the employee’s motion. Plaintiffs’ independent state law

claims against Defendant, should be dismissed under § 101.106.

       To the extent that Plaintiffs are alleging a wrongful death or survival claim based upon 42

U.S.C. §1983, Plaintiffs would be required to show the constitutional deprivation required by

§1983 and a causal link between the defendant’s unconstitutional acts and the death of the victim

as required by the state’s wrongful death statute. See Batiste, 458 Fed. Appx. at 357-58. For the

reasons set forth above, Plaintiffs have not pled an actionable excessive force claim against

Defendant, and Plaintiffs’ state claims must also be dismissed.

               2.      No Claim Under the Texas Constitution.

       Plaintiffs generally assert a vague claim under the Texas Constitution. Plaintiffs’ Amended



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Complaint, pp. 45-46, ¶ 106. There is no private right of action for a claim for damages under the

Texas Constitution. City of Beaumont v. Bouillion, 896 S.W.2d 143, 148-49 (Tex. 1996). See also

Kaufman County v. Combs, 393 S.W.3d 336, 345 (Tex.App.-Dallas 2012, pet. denied) (no direct

cause of action under Texas constitution, citing Bouillion). As a result, to the extent that Plaintiffs

attempt to assert a claim for damages under the Texas Constitution, such claim should be dismissed

as a matter of Texas law. Id. See also Perez v. Texas A&M Univ. at Corpus Christi, No. 2-13-

CV-225, 2013 WL 6230353, at *10 (S.D. Tex. Dec. 2, 2013) (recognizing Bouillion and that there

is no private right of action for a “constitutional tort” under the Texas Constitution), aff’d, 589

Fed.Appx. 244 (5th Cir. 2014).

                                  III. REQUEST FOR RELIEF

       While the events that occurred on July 10, 2017, with Mr. Olivas ended tragically, they do

not justify maintaining suit against Defendant. For the reasons set forth above, Defendant Jeremias

Guadarrama respectfully requests that the court grant this renewed motion to dismiss, dismissing

all claims brought by the Plaintiffs against him, based upon his qualified immunity defense and

for failure to state a claim. Plaintiffs assert that, as a matter of law, qualified immunity should not

be available. Plaintiffs’ Amended Complaint, p. 45 n. 1. Plaintiffs’ assertion is without merit

under United States Supreme Court and Fifth Circuit precedent, as discussed above. Defendant

also prays for all other relief to which he may be justly entitled.




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                                           Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       A copy of the foregoing document was served electronically through the court’s ECF

system on all counsel of record on August 21, 2019.


                                                      /s/ Edwin P. Voss, Jr.
                                                      Edwin P. Voss, Jr.




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